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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    BAYOU CITY WATERKEEPER                          §
        Plaintiff                                   §
                                                    §
    v.                                              §          CIVIL ACTION NO. 4:18-cv-03369
                                                    §
    CITY OF HOUSTON                                 §
         Defendant                                  §

                         DEFENDANT CITY OF HOUSTON’S
                  UNOPPOSED MOTION TO EXTEND DISCOVERY STAY

          Defendant City of Houston (the “City”) requests that this Court extend the current stay of

discovery an additional three months to January 31, 2020. Plaintiff Bayou City Waterkeeper does

not oppose this request.

          In its June 7, 2019 Order, this Court stayed discovery until October 31, 2019, because of

the pending settlement in the related lawsuit filed against the City by the United States of America

and the State of Texas: United States v. City of Houston, No. 4:18-CV-3368 (S.D. Tex.) (the

“United States’ Lawsuit”).1 This Court stated that “[a]fter October 31st, if a settlement is still not

finalized and approved, the Court will consider a renewed motion to stay.” Id.

          The United States and Texas have formally lodged the Consent Decree containing the terms

of the settlement in the United States’ Lawsuit. Doc. 27. As part of the settlement-approval

process in the United States’ Lawsuit, the United States and the State of Texas have provided the

required public notice and opportunity for public comment. 28 C.F.R. § 50.7; TEX. WATER CODE

§ 7.110. The United States published information regarding the settlement in the Federal Register

on September 3, 2019, with the comment period concluding on October 3, 2019. 84 FED. REGISTER


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 See Doc. 26. The United States’ Lawsuit was previously in Judge Werlein’s court. On October 23, 2019, the United
States’ Lawsuit was transferred to Judge Eskridge’s court. See Doc. 41 in the United States’ Lawsuit.
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46,049 (Sep. 3, 2019). On October 9, 2019, the United States extended the comment period to

until November 8, 2019. 84 FED. REGISTER 54,181 (Oct. 9, 2019). After the comment periods

close, the United States and Texas will evaluate any comments received and will then request

Judge Eskridge “to take appropriate action regarding the Consent Decree.” See Doc. 40 in United

States’ Lawsuit at 2. Because the public comment period for the settlement has been extended

until after the expiration of this Court’s discovery stay, an extension of the discovery stay will

ensure that the United States and the State have sufficient time to review and address comments

regarding the settlement.

       The City, therefore, requests that this Court extend the current stay on discovery an

additional three months, which would be until January 31, 2020.




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                          Respectfully submitted,

                                                    /s/ Debra Tsuchiyama Baker
                                                    Debra Tsuchiyama Baker
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 1, 2019, a copy of the above document was served on
all counsel of record via the Court’s electronic filing system.

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                            /s/ Debra Tsuchiyama Baker
                            Debra Tsuchiyama Baker




                               CERTIFICATE OF CONFERENCE

       I hereby certify that on October 31, 2019, I conferred with Plaintiff Bayou City
Waterkeeper’s counsel Lauren Ice, who informed me that Plaintiff Bayou City Waterkeeper does
not oppose the Court granting the relief requested in this motion.

                            /s/ David George
                            David George




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